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                                     United States District Court                    JS-3
                                     Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.              CR 13-220-DMG

Defendant         Abdul King Garba                                          Social Security No. 3           8    5     7

akas: None.                                                                 (Last 4 digits)

                                         JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY      YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.        MAY     31       2016


 COUNSEL                                                                   Richard W. Raynor
                                                                             (Name of Counsel)

     PLEA               GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO           X     NOT
                                                                                                                CONTENDERE             GUILTY
  FINDING  There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
          Health Care Fraud, Causing An Act To Be Done in violation of Title 18 U.S.C. §§ 1347, 2(b) as charged in Counts 1 - 5 of
          the Indictment.
JUDGMENT The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/ contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM    that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, ABDUL KING
  ORDER   GARBA, is hereby committed to the custody of the Bureau of Prisons to be imprisoned for a term of TWENTY-ONE (21)
          MONTHS. This term consists of 21 months on each of Counts 1 through 5 of the Indictment, all such terms to run
          concurrently.


         It is ordered that the defendant shall pay to the United States a special assessment of $500, which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons’
Inmate Financial Responsibility Program.

         It is ordered that the defendant shall pay restitution in the total amount of $814,445.95 pursuant to 18 U.S.C. § 3663A.

         The amount of restitution ordered shall be paid as follows:

                      Victim                                                                     Amount

                      MEDICARE                                                                   $814,445.95

         Restitution shall be paid in monthly installments of at least 10% of defendant’s gross monthly income, but not less than $250,
whichever is greater, during the period of supervised release. These payments shall begin 30 days after the commencement of supervision.
Nominal restitution payments are ordered as the Court finds that the defendant’s economic circumstances do not allow for immediate payment
of the amount ordered.

          The defendant shall be held jointly and severally liable with co-defendant, Queen Anieze-Smith, for the amount of restitution ordered
in this Judgment. The victim’s recovery is limited to the amount of its loss and the defendant’s liability for restitution ceases if and when the
victim receives full restitution.

         Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to
pay interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

         The defendant shall comply with General Order No. 01-05.



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         Pursuant to Guideline Section 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is unable to
pay and is not likely to become able to pay any fine in addition to restitution.

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of THREE (3) YEARS. This term
consists of three years on each of Counts 1 through 5 of the Indictment, all such terms to run concurrently under the following terms and
conditions:

          1.    The defendant shall comply with the rules and regulations of the United States Probation Office, General Order 05-02, and
                General Order 01-05;

          2.    The defendant shall not commit any violation of federal, state, or local law or ordinance;

          3.    The defendant shall not engage, as whole or partial owner, employee or otherwise, in any business involving health care billings
                or reimbursements, without prior approval of the Probation Officer or the Court;

          4.    The defendant shall not be employed in any position that requires licensing and/or certification by any local, state, or federal
                agency without the prior written approval of the Probation Officer;

          5.    When not employed or excused by the Probation Officer for schooling, training, or other acceptable reasons, defendant shall
                complete up to 20 hours of community service per week.

          6.    The defendant shall apply all money received from income tax refunds, lottery winnings, inheritance, judgments, and any
                anticipated or unexpected financial gains to the outstanding court-ordered financial obligation;

          7.    During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with
                this judgment’s orders pertaining to such payment; and

          8.    The defendant shall cooperate in the collection of a DNA sample from the defendant.

         The drug testing condition mandated by statute is suspended based on the Court’s determination that the defendant poses a low risk of
future substance abuse.

        It is further ordered that the defendant surrender himself to the institution designated by the Bureau of Prisons on or before 12 noon on
August 1, 2016. In the absence of such designation, the defendant shall report on or before the same date and time, to the United States
Marshal located at the Roybal Federal Building, 255 E. Temple Street, Los Angeles, California.

        The Statement of Reasons shall be provided to the United States Probation Office, Bureau of Prisons, and the United States
Sentencing Commission.

         The Court authorizes the Probation Office to disclose the Presentence Report and any addenda to the Bureau of Prisons and the United
States Sentencing Commission.

          The Court recommends that the defendant be assigned to a federal correctional facility in the Southern California area.

          The bond shall be exonerated upon surrender as to this defendant.

          The Court informs the defendant of his right to appeal.




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In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
supervision for a violation occurring during the supervision period.




           June 3, 2016
           Date                                                           Dolly M. Gee, United States District Judge

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                          Clerk, U.S. District Court




           June 3, 2016                                            By     /s/ Kane Tien
           Filed Date                                                     Deputy Clerk



The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant shall not commit another Federal, state or local                10.    the defendant shall not associate with any persons engaged in
       crime;                                                                               criminal activity, and shall not associate with any person
2.   the defendant shall not leave the judicial district without the written                convicted of a felony unless granted permission to do so by the
       permission of the court or probation officer;                                        probation officer;
3.   the defendant shall report to the probation officer as directed by the        11.    the defendant shall permit a probation officer to visit him or her at
       court or probation officer and shall submit a truthful and complete                  any time at home or elsewhere and shall permit confiscation of
       written report within the first five days of each month;                             any contraband observed in plain view by the probation officer;
4.   the defendant shall answer truthfully all inquiries by the probation          12.    the defendant shall notify the probation officer within 72 hours of
       officer and follow the instructions of the probation officer;                        being arrested or questioned by a law enforcement officer;
5.   the defendant shall support his or her dependents and meet other              13.    the defendant shall not enter into any agreement to act as an
       family responsibilities;                                                             informer or a special agent of a law enforcement agency without
6.   the defendant shall work regularly at a lawful occupation unless                       the permission of the court;
       excused by the probation officer for schooling, training, or other          14.    as directed by the probation officer, the defendant shall notify third
       acceptable reasons;                                                                  parties of risks that may be occasioned by the defendant’s
7.   the defendant shall notify the probation officer at least 10 days prior                criminal record or personal history or characteristics, and shall
       to any change in residence or employment;                                            permit the probation officer to make such notifications and to
8.   the defendant shall refrain from excessive use of alcohol and shall                    conform the defendant’s compliance with such notification
       not purchase, possess, use, distribute, or administer any narcotic                   requirement;
       or other controlled substance, or any paraphernalia related to such         15.    the defendant shall, upon release from any period of custody, report
       substances, except as prescribed by a physician;                                     to the probation officer within 72 hours;
9.   the defendant shall not frequent places where controlled substances           16.    and, for felony cases only: not possess a firearm, destructive device,
       are illegally sold, used, distributed or administered;                               or any other dangerous weapon.




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 X The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth below).

          STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

          The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C. §3612(f)(1). Payments may be
subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest and penalties pertaining to restitution, however, are
not applicable for offenses completed prior to April 24, 1996.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant shall pay the
balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

         The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. §3612(b)(1)(F).

         The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any material change in
the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C.
§3664(k). The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or
the victim, adjust the manner of payment of a fine or restitution-pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for
probation 18 U.S.C. §3563(a)(7).

          Payments shall be applied in the following order:

                      1. Special assessments pursuant to 18 U.S.C. §3013;
                      2. Restitution, in this sequence (pursuant to 18 U.S.C. § 3664(i), all non-federal victims must be paid before the United
                        States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                      5. Other penalties and costs.

                                SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release authorizing credit
report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure; and (3) an accurate financial
statement, with supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant shall not apply
for any loan or open any line of credit without prior approval of the Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or other pecuniary
proceeds shall be deposited into this account, which shall be used for payment of all personal expenses. Records of all other bank accounts,
including any business accounts, shall be disclosed to the Probation Officer upon request.

        The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                 These conditions are in addition to any other conditions imposed by this judgment.




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                                                                     RETURN

 I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                      to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                    United States Marshal


                                                             By
           Date                                                     Deputy Marshal




                                                                CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.
                                                                    Clerk, U.S. District Court


                                                             By
           Filed Date                                               Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                                  Date




                      U. S. Probation Officer/Designated Witness                                 Date




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